 

Case 3:20-cr-00611-S Document1 Filed 12/08/20 Page1lof4 PagelID1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION \/f

UNITED STATES OF AMERICA 8.20CR0611- B

Vv. Criminal No.

KEWON DONTRELL WHITE

INDICTMENT
The Grand Jury charges:

Count One
Possession of a Firearm by a Convicted Felon
(Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2))

On or about August 16, 2020, in the Dallas Division of the Northern District of
Texas, the defendant, Kewon Dontrell White, knowing that he had been convicted of a
crime punishable by imprisonment for a term exceeding one year, did knowingly possess
in and affecting interstate and foreign commerce a firearm, to wit: a black, semi-

automatic, 9mm, FNH USA, LLC FNS-9C pistol, bearing serial number CSU0016123.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

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Forfeiture Notice
(21 U.S.C. § 853(a) and 881(a); 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Upon conviction of any offense alleged in Count One of this indictment and
pursuant to 21 U.S.C. §§ 853(a) and 881(a), 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c),
the defendant, Kewon Dontrell White, shall forfeit to the United States all property, real
or personal, constituting, or derived from, the proceeds obtained, directly or indirectly, as
a result of the offense; and any property, real or personal, used, or intended to be used, in
any manner or part, to commit, or to facilitate the commission of the respective offense.

The above-referenced property includes, but is not limited to, the following:

(1) A black, semi-automatic, 9mm, FNH USA, LLC FNS-9C pistol, bearing S/N

CSU0016123;

(2) Any magazines recovered with the above-mentioned firearm; and

If any of the property described above, as a result of any act or omission of the
defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

6. has been commingled with other property which cannot be divided without
difficulty,

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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek

forfeiture of any other property of the said defendant up to the value of the forfeitable

 

property described above.
TRUE BILL
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FOREPERSON
ERIN NEALY COX

UNITED STATES ATTORNEY

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MYRIA BOEHM

Assistant United States Attorney
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

KEWON DONTRELL WHITE

 

INDICTMENT

18 U.S.C. §§ 922(g)(1) and 924(a)(2)
Possession of a Firearm by a Convicted Felon
(Count 1)

21 U.S.C. § 853(a) and 881(a); 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)
Forfeiture Notice

 

1 Count
A true bill rendered
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DALLAS FOREPERSON

 

Filed in open court this g day of December, 2020.

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UNITED STATES TE JUDGE
Magistrate Court Number: 3:20-MJ-127-BT

 
